Case 2:20-cv-00351-RGD-LRL Document 118-1 Filed 09/07/21 Page 1 of 10 PageID# 1921




             EXHIBIT A
Case 2:20-cv-00351-RGD-LRL Document 118-1 Filed 09/07/21 Page 2 of 10 PageID# 1922




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                    NORFOLK DIVISION

   THE COLEMAN COMPANY, INC.,

                 Plaintiff/Counterclaim Defendant,       C.A. No: 2:20-cv-351-RGD
                 v.
                                                         JURY TRIAL DEMANDED
   TEAM WORLDWIDE CORPORATION,

                 Defendant/Counterclaim Plaintiff.




                           NOTICE OF SUBPOENA TO A NONPARTY

          Pursuant to Fed. R. Civ. P. 45, please take notice that Plaintiff will serve the attached

   Subpoena to Produce Documents on Nonparty Glen Stevick, Ph.D., P.E.


   Dated: July 20, 2021                          MEUNIER CARLIN AND CURFMAN LLC

                                                 /s/ David S. Moreland
                                                 John W. Harbin (pro hac vice)
                                                 David S. Moreland (pro hac vice)
                                                 Warren J. Thomas (pro hac vice)
                                                 MEUNIER CARLIN & CURFMAN LLC
                                                 999 Peachtree Street NE, Suite 1300
                                                 Atlanta, Georgia 30309
                                                 (404) 645-7700
                                                 jharbin@mcciplaw.com
                                                 dmoreland@mcciplaw.com
                                                 wthomas@mcciplaw.com

                                                 R. Braxton Hill, IV (VSB 41539)
                                                 Michael W. Smith (VSB 01125)
                                                 CHRISTIAN & BARTON LLP
                                                 901 East Cary Street, Suite 1800
                                                 Richmond, Virginia 23219
                                                 (804) 697-4108
                                                 bhill@cblaw.com
                                                 msmith@cblaw.com

                                                 Attorneys for Plaintiff/Counterclaim Defendant


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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   NORFOLK DIVISION

   THE COLEMAN COMPANY,

                  Plaintiff/Counterclaim Defendant,    C.A. No: 2:20-cv-351-RGD
                  v.
                                                        JURY TRIAL DEMANDED
   TEAM WORLDWIDE CORPORATION,

                  Defendant/Counterclaim Plaintiff.



                                   CERTIFICATE OF SERVICE
          I hereby certify that on July 20, 2021, I served the foregoing Notice of Subpoena to a

   Nonparty via electronic mail to the following counsel of record:


                                William R. Poynter (VSB No. 48672)
                                  David Sullivan (VSB No. 45027)
                               Alexander M. Gabriel (VSB No. 89185)
                                           KALEO LEGAL
                                  4456 Corporation Lane, Suite 135
                                     Virginia Beach, VA 23462
                                        Phone: 757.238.6383
                                         Fax: 757.304.6175
                                     wpoynter@kaleolegal.com
                                     dsullivan@kaleolegal.com
                                      agabriel@kaleolegal.com

                                          Korula Cherian
                                       RUYAKCHERIAN LLP
                                    1936 University Ave., Ste. 350
                                        Berkeley, CA 94702
                                     Telephone: (510) 944-0190
                                     sunnyc@ruyakcherian.com

                                          J. Michael Woods
                                        Thomas Mark Dunham
                                        RUYAKCHERIAN LLP
                                      1901 L St. NW, Suite 700
                                       Washington, DC 20036
                                      Telephone: (202) 838-1560


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                             michaelw@ruyakcherian.com
                              tomd@ruyakcherian.com



                                         /s/ David S. Moreland
                                         David S. Moreland (pro hac vice)




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                     Eastern DistrictDistrict
                                                      __________      of Virginia
                                                                              of __________
                 THE COLEMAN COMPANY
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 2:20-CV-351-RGD
          TEAM WORLDWIDE CORPORATION                                          )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:        Glen Stevick, Ph.D., P.E., Berkeley Engineering and Research, Inc., 808 Gilman Street, Berkeley, CA 94710

                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: SEE ATTACHMENT A SUBMITTED HERETWITH



 Place: Meunier Carlin & Curfman LLC                                                    Date and Time:
          c/o TSG Reporting, 580 California St., 12th Floor                                                  08/12/2021 5:00 pm
          San Francisco, California 94104

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/20/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                               /S/ DAVID S. MORELAND
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)     PLANTIFF
                                                                        , who issues or requests this subpoena, are:
David S. Moreland dmoreland@mcciplaw.com; 404-645-7700; 999 Peachtree Street, Ste. 1300, Atlanta GA 30309

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:20-CV-351-RGD

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any) Glen Stevick, Ph.D., P.E.
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  NORFOLK DIVISION

   THE COLEMAN COMPANY,

                  Plaintiff/Counterclaim Defendant,      C.A. No: 2:20-cv-351-RGD
                  v.
                                                         JURY TRIAL DEMANDED
   TEAM WORLDWIDE CORPORATION, et al.,

                  Defendant/Counterclaim Plaintiff.




               ATTACHMENT A: NON-PARTY REQUEST FOR PRODUCTION
                     OF DOCUMENTS RELATED TO DAMAGES

   TO:    Glen Stevick, Ph.D., P.E.
          Berkeley Engineering and Research, Inc.
          808 Gilman Street
          Berkeley, CA 94710

          Pursuant to Rule 34 and 45 of the Federal Rules of Civil Procedure, you are hereby

   requested to produce documents in your possession, custody, or control relating to the topics set

   forth below. This request does not include materials protected by the attorney-client privilege.

   However, Coleman requests a privilege log if such materials exist. Please produce documents, e-

   mails, and communications within your possession, custody or control in accordance with the

   following topics:


   1.     Documents sufficient to show the revenues received on matters in which Glen
          Stevick, Ph.D., P.E. has been retained as an expert witness by Team Worldwide
          Corporation ("TWW"), or by counsel for TWW (RuyakCherian LLP), on an annual
          basis or by matter, since 2015.




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                                            DEFINITIONS

          The term “documents” as used in the above designation means all original writings of any

   kind or nature and all non-identical copies thereof in your actual or constructive possession,

   custody or control regardless of where located, includes, but is not limited to writings, contracts,

   records, files, tape recordings, voicemails, correspondence, communications, summaries, notes

   (including summaries or notes of conversations), diaries, telegrams, memoranda, text messages,

   emails, instant messages, and all other documents within the meaning of Rule 34 of the Federal

   Rules of Civil Procedures. In any case where the original or a non-identical copy is not

   available, the term “documents” includes an identical copy of an original, or when a copy of a

   non-identical copy is not available, the term “documents” includes an identical copy of an

   original or a copy of a non-identical copy or a true and accurate electronic copy. Any document

   bearing notations, markings or writings of any kind different from the original shall be treated as

   an original document.

          “This litigation” or “this lawsuit” refers to The Coleman Company, Inc. v. Team

   Worldwide Corporation, et al., case number 2:20-cv-00351, pending in the Eastern District of

   Virginia, Norfolk Division.

                        TIME, MANNER AND PLACE OF PRODUCTION

          Please produce the documents for inspection at our offices or by sending copies to the

   undersigned, within a reasonable time, but not later than 5:00 p.m. on August 20, 2021. The

   reasonable cost of copying will be reimbursed. DOCUMENTS MAY BE EMAILED TO

   DMORELAND@MCCIPLAW.COM OR FAXED TO (404)645-7707 OR SENT VIA FIRST-

   CLASS MAIL.




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   Dated: July 20, 2021               MEUNIER CARLIN AND CURFMAN LLC


                                      /s/ David S. Moreland
                                      John W. Harbin (pro hac vice)
                                      David S. Moreland (pro hac vice)
                                      Warren J. Thomas (pro hac vice)
                                      Meunier Carlin & Curfman LLC
                                      999 Peachtree Street NE, Suite 1300
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                                      R. Braxton Hill, IV (VSB 41539)
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                                      CHRISTIAN & BARON, LP
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                                      Richmond Virginia 23219
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                                      Attorneys for Plaintiff




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